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                             UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

Timothy Zettler

On Behalf of Himself and
All Others Sharing a Question of
Common Interest,

               Plaintiffs,

       v.                                                   Case No. 18-cv-654

Thurs Trucking, Inc.,
Jean Thurs,

               Defendants.


                                NOTICE OF SETTLEMENT

       The parties, through counsel, hereby give notice that they have reached an agreement in

principle to settle the above-referenced case. The parties are preparing the necessary settlement

documents that will bring this matter to finality and will present the documents for the Court’s

consideration and approval as the claims related to the Fair Labor Standards Act.

       Dated: July 8, 2019.


                                                    s / Y i n g t a o H o
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